Case 1:22-cv-10904-JSR Document 263-3 Filed 08/07/23 Page 1 of 5




                     EXHIBIT 56
             Case 1:22-cv-10904-JSR Document 263-3 Filed 08/07/23 Page 2 of 5




                          UNITED STATES DISTRICT COURT FOR THE
                             SOUTHERN DISTRICT OF NEW YORK

JANE DOE 1, individually and on behalf of all )
others similarly situated,                    )
                                              )
        Plaintiff,                            )
                                              )
v.                                                Case No. 22-cv-10019-JSR
                                              )
                                              )
JPMORGAN CHASE BANK, N.A.                     )
                                              )
        Defendant/Third-Party Plaintiff.
                                              )
                                              )
                                              )
JPMORGAN CHASE BANK, N.A.                     )
                                              )
        Third-Party Plaintiff,                )
                                              )
v.                                            )
                                              )
JAMES EDWARD STALEY                           )
                                              )
        Third-Party Defendant.                )
                                              )
                                              )
Government of the U.S. Virgin Islands,
                                              )
        Plaintiff,                            )
                                              )
v.                                            )   Case No. 22-cv-10019-JSR
                                              )
JPMORGAN CHASE BANK, N.A.                     )
                                              )
        Defendant/Third-Party Plaintiff.      )
                                              )
                                              )
JPMORGAN CHASE BANK, N.A.                     )
                                              )
        Third-Party Plaintiff,                )
                                              )
v.
                                              )
                                              )
JAMES EDWARD STALEY                           )
                                              )
        Third-Party Defendant.                )
                                              )

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        Case 1:22-cv-10904-JSR Document 263-3 Filed 08/07/23 Page 3 of 5




Admission as a discovery device. See Pasternak, 2011 WL 4552389, at *5; De Niro, 2022 WL

101909, at *2. JPMC also objects to Request No. 67 because the phrase “official duties or

responsibilities relating to Epstein accounts” is vague and ambiguous.

       Subject to and without waiver of the foregoing general and specific objections, JPMC

admits only that JPMC employees with duties and responsibilities specific to Epstein accounts

were aware that Epstein pled guilty in 2008 to one count of solicitating prostitution and one

count of soliciting prostitution from someone under the age of 18.


REQUEST FOR ADMISSION NO.68

JPMorgan officers, directors, or employees with official duties or responsibilities relating to
Epstein accounts were aware in 2013 that Jeffrey Epstein had been convicted of procuring a
child for prostitution.

RESPONSE TO REQUEST FOR ADMISSION NO. 68

       In addition to and specifically incorporating its foregoing General Objections and

Objections to Definitions, JPMC objects to Request No. 68 because it misuses Requests for

Admission as a discovery device. See Pasternak, 2011 WL 4552389, at *5; De Niro, 2022 WL

101909, at *2. JPMC also objects to Request No. 68 because the phrase “official duties or

responsibilities relating to Epstein accounts” is vague and ambiguous.

       Subject to and without waiver of the foregoing general and specific objections, JPMC

admits only that JPMC employees with duties and responsibilities specific to Epstein accounts

were aware that Epstein pled guilty in 2008 to one count of solicitating prostitution and one

count of soliciting prostitution from someone under the age of 18.


REQUEST FOR ADMISSION NO.69

Jamie Dimon was aware in 2006 that Jeffrey Epstein had been arrested for prostitution and/or
sexual misconduct.


                                                 38
       Case 1:22-cv-10904-JSR Document 263-3 Filed 08/07/23 Page 4 of 5




RESPONSE TO REQUEST FOR ADMISSION NO. 69

       In addition to and specifically incorporating its foregoing General Objections and

Objections to Definitions, JPMC objects to Request No. 69 because it misuses Requests for

Admission as a discovery device. See Pasternak, 2011 WL 4552389, at *5; De Niro, 2022 WL

101909, at *2.

       Subject to and without waiver of the foregoing general and specific objections, JPMC,

based on present knowledge and information while discovery in this matter is ongoing, denies

Request No. 69.


REQUEST FOR ADMISSION NO.70

Jamie Dimon was aware in 2007 that Jeffrey Epstein had been arrested for prostitution and/or
sexual misconduct.

RESPONSE TO REQUEST FOR ADMISSION NO. 70

       In addition to and specifically incorporating its foregoing General Objections and

Objections to Definitions, JPMC objects to Request No. 70 because it misuses Requests for

Admission as a discovery device. See Pasternak, 2011 WL 4552389, at *5; De Niro, 2022 WL

101909, at *2.

       Subject to and without waiver of the foregoing general and specific objections, JPMC,

based on present knowledge and information while discovery in this matter is ongoing, denies

Request No. 70.


REQUEST FOR ADMISSION NO.71

Jamie Dimon was aware in 2008 that Jeffrey Epstein had been arrested and/or convicted for
prostitution and/or sexual misconduct.

RESPONSE TO REQUEST FOR ADMISSION NO. 71




                                               39
        Case 1:22-cv-10904-JSR Document 263-3 Filed 08/07/23 Page 5 of 5




“relevant to any party’s claim or defense” as Mr. Neilson was not employed by JPMC in 2012.

This request is therefore not “proportional to the needs of the case.” Fed. R. Civ. P. 26(b)(1).



Date: May 22, 2023                            Respectfully submitted,
                                              By: /s/ John J. Butts

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